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                              UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF
                                ILLINOIS EASTERN DIVISION


SAMUEL LIT,                                      )
                                                 ) Case No. 1:18-CV-2057
               Plaintiff,                        )
                                                 ) Judge Rebecca R. Pallmeyer
       v.                                        )
                                                 )
DOVER CORPORATION,                               )
                                                 )
               Defendant.
                                                 )
                                                 )


 DEFENDANT’S UNOPPOSED MOTION TO EXTEND THE DATE TO ANSWER OR
                       OTHERWISE PLEAD

       In this unopposed motion, Defendant Dover Corporation (“Dover”) respectfully requests

that this Court extend the deadline by which Dover must respond to the Complaint in this matter.

In support of this motion, Dover states:

       1.      Plaintiff filed this action on March 21, 2018.

       2.      Dover was served with Summons and the Complaint on April 5, 2018, meaning

that Dover must answer or otherwise respond to the Complaint by April 26, 2018.

       3.      Dover is continuing to investigate the allegations in the Complaint and seeks

additional time within which to complete its pre-response due diligence.

       4.      Dover does not seek to delay the proceedings but wishes to gather as much

information as possible before responding and triggering the conferences and disclosures

required by this Court’s Local Patent Rules.

       5.      Dover’s counsel proposed that the deadline to answer or otherwise plead be

extended, and Lit’s counsel stated that they would not oppose an extension of up to 45 days.
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       6.        This is the first request to extend the response deadline.

       WHEREFORE, Defendant Dover respectfully requests, and Plaintiff Lit does not oppose,

that this Court enter an order extending the deadline to respond to the Complaint by 45 days, to

June 11, 2018.

                                                    Respectfully Submitted,



Dated: April 23, 2018                               /s/ James L. Thompson
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                                 CERTIFICATE OF SERVICE

I hereby certify that on June 8, 2017 foregoing Plaintiff’s Unopposed Motion Extend Close of
Fact Discovery was filed electronically. Notice of this filing will be sent to the following parties
by operation of the Court’s electronic filing system. Parties may access this filing through the
Court’s system.

Alston & Bird folks


                                              /s/ James L. Thompson
                                              One of the Attorneys for Plaintiff Joseph Woerner
                                              and the putative class




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